Case 1:99-cr-00792-NCR Document 2 Entered on FLSD Docket 11/02/1999 Page 1of1

 

AQ 442 (Rev, 12/85) Warrant for Arrest AUSA Diana T..W. Fernandez FRI S/A Sciclino (305) 944-9101
United States District Court
SOUTHERN DISTRICT OF Fl ORIDA

 

 

UNITED STATES OF AMERICA
V. WARRANT FOR ARREST

RICHARD H. OLSON -_ __
CASE NUMBER: “ PIP AR

TO: The United States Marshal
and any Authorized United States Officer -GOL

CR - GOLE TWOGE

yb bee

 

TON
YOU ARE HEREBY COMMANDED to arrest RICHARD H O1SQN: SIMON 1!
Name On ~:
and bring him or her forthwith to the nearest magistrate to answer a(n) x

gelndictment a Information = Complaint 2 Order of court 4 Violation Notice o Repbation Violation Petition

 

ro
charging him or her with (brief description of offense) Money Laundering, apo —
rmx =
in violation of Title 18. United States Code, Section(s) 19456

CLARENCF MADDOX La COURT ADMINISTRATORIC!I FRK OF THE COURT

Name of Wilde Title of Issuing Officer

Signature of issuing Officer ; aye and Location

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Bail bor, $ ON

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RETURN

 

This warrant was received and executed with the arrest of the above defendant at

 

 

DATE RECEIVED NAME AND TITLE OF ARRESTING OFFICER SIGNATURE OF ARRESTING OFFICER

 

DATE OF ARREST

 

 

 

 

 
